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                                   Exhibit A

                                   Stipulation
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                   Chapter 11
      In re
                                                   Bankruptcy Case No. 20-10343 (LSS)
      Boy Scouts of America and
      Delaware BSA, LLC,1                          (Jointly Administered)
                       Debtors.

      National Union Fire Insurance Co. of
      Pittsburgh, PA, et al.,

                       Appellants.
                                                   Case No. 22-cv-01237-RGA
      v.

      Boy Scouts of America, et al.,

                       Appellees.

                        STIPULATION TO EXTEND WORD LIMITS

              Boy Scouts of America and Delaware BSA, LLC (together, the “Debtors”),

  and one or more of the Certain Insurers,2 the claimants represented by Dumas &


  1
           The Debtors in the chapter 11 cases, together with the last four digits of each
           Debtor’s federal tax identification number, are as follows: Boy Scouts of America
           (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325
           West Walnut Hill Lane, Irving, Texas 75038.
  2
           The Certain Insurers are Allianz Global Risks US Insurance Company, National
           Surety Corporation, Interstate Fire & Casualty Company, Argonaut Insurance
           Company, Colony Insurance Company, Liberty Mutual Insurance Company, The
           Ohio Casualty Insurance Company, Liberty Insurance Underwriters, Inc., Liberty
           Surplus Insurance Corporation, General Star Indemnity Company, Great
           American Assurance Company f/k/a Agricultural Insurance Company, Great
           American E&S Insurance Company f/k/a Agricultural Excess and Surplus
                                                                        (Cont’d on next page)
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  Vaughn, LLC, and the claimants represented by Lujan & Wolff LLP (collectively,

  the “Appellants,” and with the Debtors, the “Parties”) hereby stipulate and agree as

  follows (the “Stipulation”):

        A.     WHEREAS, on March 28, 2023, this Court entered an order affirming

  the Bankruptcy Court’s Supplemental Findings of Fact and Conclusions of Law,

  dated September 8, 2022 [D.I. 151] (the “Affirmation Order”);

        B.     WHEREAS, on March 31, 2023, the Certain Insurers filed an

  Emergency Motion for Stay Pending Appeal and Temporary Stay While the Court

  Rules on the Motion [D.I. 152];

        C.     WHEREAS, on April 1, 2023, the claimants represented by Dumas &

  Vaughn, LLC, and the claimants represented by Lujan & Wolff LLP filed similar

  motions seeking a stay of this Court’s order affirming the Bankruptcy Court’s




     Insurance Company, Great American E&S Insurance Company, Arch Insurance
     Company, Continental Insurance Company, Columbia Casualty Company,
     Indian Harbor Insurance Company on behalf of itself and as successor in interest
     to Catlin Specialty Insurance Company, Travelers Casualty and Surety Company,
     Inc. (f/k/a Aetna Casualty & Surety Company), St. Paul Surplus Lines Insurance
     Company, Gulf Insurance Company, Arrowood Indemnity Company, Gemini
     Insurance Company, Munich Reinsurance America, Inc., formerly known as
     American Re-Insurance Company, Traders and Pacific Insurance Company,
     Endurance American Specialty Insurance Company, Endurance American
     Insurance Company, Old Republic Insurance Company, National Union Fire
     Insurance Company of Pittsburgh, PA., Lexington Insurance Company,
     Landmark Insurance Company, and The Insurance Company of the State of
     Pennsylvania.


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  Confirmation Order [D.I. 154, D.I. 156] (collectively with the Certain Insurers’

  motion, the “Stay Motions”);

        D.       WHEREAS, to limit the briefing submitted to this Court, the Debtors

  intend to file a single omnibus response in opposition to all three Stay Motions (the

  “Omnibus Response”);

        E.       WHEREAS, pursuant to Rule 8013(f)(3) of the Federal Rules of

  Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors would ordinarily be

  limited to a maximum of 5,200 words in their response to each of the three Stay

  Motions, for a total maximum of 15,600 words;

        NOW, THEREFORE, it is hereby stipulated and agreed to by and among

  the Parties:

        1.       The Parties hereby agree and stipulate that the word limit for the

  Debtors’ Omnibus Response is extended to a limit of 10,000 words, exclusive of any

  accompanying supporting documents.




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  Dated: April 4, 2023

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